
PER CURIAM.
ON APPELLEE'S MOTION TO DISMISS
We grant appellee's motion and dismiss this appeal as one taken from a nonfinal, nonappealable order. See, e.g., M.M. v. Fla. Dep't of Children &amp; Families, 189 So.3d 134, 137 (Fla. 2016) (observing that "[a]n appeal from a final order is appropriate when judicial labor has ended");
*464S.L.T. Warehouse Co. v. Webb, 304 So.2d 97, 99 (Fla. 1974) (noting: "Generally, the test employed by the appellate court to determine finality of an order, judgment or decree is whether the order in question constitutes an end to the judicial labor in the cause, and nothing further remains to be done by the court to effectuate a termination of the cause as between the parties directly affected.") This dismissal is without prejudice to the filing of a proper and timely appeal from a final, appealable order. Given this disposition, we do not reach the claims raised in the instant appeal, nor do we express any comment on their relative merit.
Appeal dismissed.
